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                             UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEW MEXICO

JUANITA LOPEZ,

               Plaintiff,

v.                                                            Case No. 1:17-cv-00845-KK-SCY

STATE FARM MUTUAL AUTOMOBILE INSURANCE
COMPANY and YET-TO-BE-IDENTIFIED EMPLOYEES
AND/OR AGENTS of State Farm Mutual Automobile Insurance
Company,

               Defendants.


                             DEFENSE EXPERT DISCLOSURE(S)

       The Court has stayed all discovery, except for the deposition of Plaintiff, in light of the

parties' agreement to forego full discovery and to proceed to early Settlement Conference [Doc.

27]. The defense therefore reserves the right to disclose testifying expert witness(es) in the event

the parties are unable to settle at the Settlement Conference in a reasonable time following the

Settlement Conference or as instructed by the Court.

                                                       Respectfully submitted,

                                                       MILLER STRATVERT P.A.

                                                       By: /s/ Todd A. Schwarz
                                                          Todd A. Schwarz
                                                          Attorneys for Defendant State Farm Mutual
                                                               Automobile Insurance Company
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                                          CERTIFICATE OF SERVICE

        The undersigned hereby certifies that on the 23rd day of February, 2018, a copy of the
foregoing was electronically filed through the CM/ECF system, which caused the following
participating CM/ECF counsel to be served with same by electronic means to:

         Merit Bennett
         The Bennett Law Group LLC
         460 St. Michael’s Drive Suite 703
         Santa Fe, NM 87505
         mb@thebennettlawgroup.com

/s/ Todd A. Schwarz
Todd A. Schwarz




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